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                                      No. 6:21-cv-00287

                                       Jerremy Ray,
                                         Plaintiff,
                                            v.
                                    Matt Bingham et al.,
                                        Defendants.


                                          ORDER

                 Plaintiff Jerremy Ray, proceeding pro se and in forma pauperis,
            filed this civil-rights lawsuit pursuant to 42 U.S.C. § 1983. The case
            was referred to United States Magistrate Judge K. Nicole Mitchell
            pursuant to 28 U.S.C. § 636(b). Doc. 2.
                On September 1, the magistrate judge issued a report recom-
            mending that plaintiff’s case be dismissed with prejudice pursuant
            to 28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(b). Doc. 7. Plaintiff filed
            timely written objections. Doc. 9.
                The court reviews the objected-to portions of a magistrate
            judge’s report and recommendation de novo. See Fed. R. Civ. P.
            72(b)(3); 28 U.S.C. § 636(b)(1). The magistrate judge recommended
            dismissal because defendants are immune from suit, are not individ-
            uals subject to suit under § 1983, or are not alleged to have been per-
            sonally involved in violating his constitutional rights. Doc. 7 at 5-7.
            Plaintiff’s objections do not refute those bases for dismissal. See Doc.
            9.
                Having reviewed the magistrate judge’s report de novo, and be-
            ing satisfied that it contains no error, the court overrules plaintiff’s
            objections and accepts the report’s findings and recommendation.
            This case is dismissed with prejudice on the basis of judicial and
            prosecutorial immunity and for failure to state a claim upon which
            relief can be granted pursuant to 28 U.S.C. §§ 1915A(b) and
            1915(e)(2)(b).
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                               So ordered by the court on September 23, 2021.



                                              J. C AMPBELL B ARKER
                                             United States District Judge




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